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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 18-CV-24100-COOKE/GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

                       NOTICE OF CANCELLATION OF HEARING

         Plaintiff, Digna Vinas (“Vinas”), hereby gives notice of the resolution of the matters

  scheduled for hearing on October 29, 2019 at 3:30 p.m., per D.E. 41., at 99 N.E. Fourth Street,

  Room 1168, Miami, FL 33132.

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 28, 2019, the undersigned certifies that the
  foregoing document is being served this date to Kristina B. Pett, Esq., Riley F. Kennedy, Esq.,
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                                                     By:           /s/ Craig M. Greene
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                                           and

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